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                          UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

 Jonathan Corrente, et al.,                          Case No. 4:22-cv-470-ALM

        Plaintiffs,                                  Hon. Amos L. Mazzant, III

 v.

 The Charles Schwab Corporation,

        Defendant.



  DECLARATION OF JONATHAN CORRENTE IN SUPPORT OF PLAINTIFFS’
UNOPPOSED MOTION FOR PRELIMINARY APPROVAL OF CLASS SETTLEMENT
       I, Jonathan Corrente, declare and state as follows:

       1.      I am a named plaintiff in the above-captioned litigation.

       2.      I am a resident of California.

       3.      I am over the age of 18 and am personally familiar with and have personal

knowledge of the facts contained herein, which I could and would testify competently thereto.

       4.      I am aware that the proposed settlement class consists (with limited exceptions) of

all persons, entities, and corporations who are current U.S. brokerage customers of Schwab or any

of its affiliates, including customers who previously held accounts at TD Ameritrade Holding
Corporation

       5.      I currently have an online brokerage account with Schwab, have executed trades in

my Schwab account, and intend to continue as a brokerage customer of Schwab indefinitely.

       6.      I understand that by this motion I, along with the other named plaintiffs in this class

action, am moving for the Court’s preliminary approval of the settlement agreement the parties in

this case have reached following extensive negotiation (the “Settlement Agreement”).




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       7.        I likewise understand that by this motion I, along with the other named plaintiffs in

this class action, am moving for the Court to certify a class of plaintiffs solely for purposes of

settlement.

       8.        I understand that a class representative is a representative party who acts on behalf

of other class members in directing the litigation and am willing to serve in this capacity alongside

the other named plaintiffs.

       9.        I understand that, as a class representative, I have a duty to prosecute the case

vigorously and in the best interests of all class members, which includes reviewing important

filings with the Court, consulting with counsel during the course of the litigation, and making

recommendations as to whether or not to accept a particular settlement offer.

       10.       I have actively participated in this suit by reviewing and authorizing the Complaint,

keeping abreast of case and settlement developments, reviewing and collecting my own documents

for production to Schwab, and periodically discussing case-related matters with my counsel.

       11.       To the best of my knowledge, I have no conflicts of interest with any class member

that would prevent me from fairly and adequately representing the best interests of the class.

       12.       I am familiar with the negotiations which have preceded the execution of the

Settlement Agreement.

       13.       I have knowledge of the Settlement Agreement and have considered its terms and

conditions.

       14.       I understand that under the terms of the Settlement Agreement, the other named

plaintiffs and I will each receive $50 in consideration of Schwab releasing our individual damages

claims for the conduct alleged in the Complaint. I also understand that under the terms of the

Settlement Agreement, Schwab will not be releasing the damages claims of other putative class

members, but will only be releasing their injunctive/declaratory claims for the conduct alleged in

the Complaint.




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       15.     I understand that under the terms of the Settlement Agreement, Schwab will be

releasing the injunctive/declaratory claims of all named plaintiffs and all putative class members

for the conduct alleged in the Complaint.

       16.     I also understand that under the terms of the Settlement Agreement, Schwab has

agreed to pay named plaintiffs a service award of up to $5,000 each, subject to court approval.

       17.     I believe that the injunctive/declaratory relief mandated by the Settlement

Agreement is valuable to all putative settlement class members in that it will likely redress

Schwab’s unlawful practices that have given rise to the conduct alleged in the Complaint.

       18.     Having considered all the terms and conditions of the Settlement Agreement, I

believe that the Settlement Agreement is fair, reasonable, and adequate in light of the complexity,

expense, and likely duration and possible outcomes of this litigation—including taking into

consideration the risks involved in certifying a class, establishing liability, maintaining the class

action through trial, and obtaining meaningful relief.

       19.     I further declare that the Settlement Agreement reflects the entire agreement

between the parties, that there has been no collusion affecting the agreement, that no favoritism

has been shown to any party in the litigation, and that there are no agreements between the parties

other than those set forth in the Settlement Agreement.

       20.     I believe that the settlement is fair, reasonable, and adequate and in the best interest

of both the named plaintiffs and the putative settlement class.

       21.     I endorse this settlement and recommend that the Court approve it.



       I declare under penalty of perjury that the foregoing is true and correct. Executed on
 11-Dec-2024
_____________________.

                                                                Jonathan Corrente
                                                              ___________________
                                                               Jonathan Corrente (Dec 11, 2024 12:42 MST)


                                                              Jonathan Corrente




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